                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
                         Plaintiff,             )
                                                )
       vs.                                      )      No. 16-03039-15-CR-S-MDH
                                                )
WILLIAM DAVID WATTS,                            )
                                                )
                         Defendant.             )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One

contained in the Second Superseding Indictment filed on September 28, 2016, is now Accepted

and the Defendant is Adjudged Guilty of such offense. Sentencing will be set by subsequent

Order of the Court.




                                                    s/Douglas Harpool
                                                      DOUGLAS HARPOOL
                                                UNITED STATES DISTRICT JUDGE




Date: August 29, 2017




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